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Cas eli 11- cv 03586- MJG Document 5 Fl|ed 02/02/12 Page 1 of 2
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FOR HMBISTRICT 0F MARYLAND

sARAH AZRMH§BB`<§LB, ": "b

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E"i'___r j _El_ _T!)l'l\_;
DONALD W. MARVIN, *
Plaint"§H`s, * Case No. il-cv-3586
v. , 1 1 * Filed Electronically

FIVE S_TAR LEASING CORP. * JURY TRIAL DEMANDED
and DOES 1-10, inclusive, s 7

Defendants.

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NT'IEF L TARYDIMI ALVIHPRE DIE
Plaintiffs dismiss this action With prejudice.

Dated: February 2, 2012 ` Respectfu]ly Submitted,

/s/ E. Daw'd Hoskins
E. David Hoskins, 06705
LAW OFFICES OF E. DAVID HOsKINs LLC
Quadrangle Building at Cross Keys
2 Hamill Road, Ste. 362
Baltimore, Mary]and 21210
(410) 662¢6500 (Tel.)
7(410) 662-7800 (Fax)
dhoskins@hoskinslaw.com

SO ORDERED, on Thursday, February 2, 2012.
' /S/`

Marvin J.Garbis
1United States District Judge

 

 

